Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 1 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 2 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 3 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 4 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 5 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 6 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 7 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 8 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 9 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 10 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 11 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 12 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 13 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 14 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 15 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 16 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 17 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 18 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 19 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 20 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 21 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 22 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 23 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 24 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 25 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 26 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 27 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 28 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 29 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 30 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 31 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 32 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 33 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 34 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 35 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 36 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 37 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 38 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 39 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 40 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 41 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 42 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 43 of 44
Case 2:10-bk-46350-BB Doc 1-3 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 3 Page 44 of 44
